
PER CURIAM:
1(Writ not considered. Untimely filed pursuant to La. S.Ct. Rule X, § 5; see also State v. Crandell, 05-1060 (La. 3/10/06), 924 So.2d 122.
Relator has now fully litigated at least one application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended La.C.Cr.P. art. 930.4 to make the procedural bars against successive filings mandatory. Relator’s claims were previously fully litigated in state collateral proceedings in accord with La. C.Cr.P. art. 930.6, and the denial is final. Hereafter, unless relator can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
